
PER CURIAM.
We affirm the final judgment of dissolution. Because appellant has failed to provide a transcript of the proceedings, he attacks the final judgment as erroneous on its face. We find no error or insufficiency with the findings of the trial court, except as to the award of bridge-the-gap alimony for a period of three years. Under section 61.08(5), Florida Statutes, an award of bridge-the-gap alimony may not exceed two years in length. Nevertheless, the findings in the final judgment show that the court was actually awarding rehabilitative alimony, as the former wife presented a plan for her re-education, upon which the trial court made the three-year award.

Affirmed.

WARNER, TAYLOR and CONNER, JJ., concur.
